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                                                              O.S. fjiC! Pji"' '' i'T!;n-,-
                IN THE UNITED STATES DISTRICT COURT                               DiV


               FOR THE SOUTHERN DISTRICT OF GEORGIA


                            SAVANNAH DIVISION




THE UNITED STATES OF AMERICA,


               Plaintiff,

                V.                           4:16CR312


SENECA ROBERTS,


               Defendant,




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in    the    parties'   motions   have   been resolved         by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this 13^ day of Apryl, 2017




                                UNITED STA^^ WlGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
